


LANGSTON V. STATE



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH





NO. 2-06-190-CR





JEFFERSON LANGSTON	APPELLANT



V.



THE STATE OF TEXAS	STATE



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FROM THE 362ND DISTRICT COURT OF DENTON COUNTY



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MEMORANDUM OPINION
(footnote: 1)


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On May 22, 2006, appellant Jefferson Langston pled guilty to indecency with a child. &nbsp;
See
 
Tex. Penal Code Ann.
 § 21.11 (Vernon 2003).
 &nbsp;Pursuant to a plea agreement, the trial court sentenced him to six years’ confinement. &nbsp;Also on May 22, 2006, the trial court entered its certification of defendant’s right to appeal in accordance with rule 25.2(a)(2). &nbsp;
Tex. R. App. P.
 25.2(a)(2). &nbsp;The certification states that appellant’s case “is a plea-bargain case, and the defendant has NO right of appeal” and that appellant “has waived the right of appeal.”

Appellant filed a pro se notice of appeal on June 6, 2006. &nbsp;
On June 12, 2006, we notified appellant that the certification indicating that he had no right to appeal and that he had waived his right to appeal had been filed in this court and that this appeal would be dismissed unless appellant or any party desiring to continue the appeal filed a response showing grounds for continuing the appeal. &nbsp;
See 
Tex. R. App. P.
 25.2(a)(2), 44.3. &nbsp;Appellant’s response does not show grounds for continuing the appeal.

Therefore, in accordance with the trial court’s certification, we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P.
 25.2(a)(2), 43.2(f); 
Cooper v. State
, 45 S.W.3d 77, 81 (Tex. Crim. App. 2001).



PER CURIAM



PANEL D:	LIVINGSTON, DAUPHINOT, and HOLMAN, JJ.



DO NOT PUBLISH

Tex. R. App. P.
 47.2(b)



DELIVERED: July 20, 2006

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




